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             EXHIBIT 11
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                                                                             Page 1
               UNITED STATES DISTRICT COURT
                 DISTRICT OF MASSACHUSETTS


  IN RE: PHARMACEUTICAL             )
  INDUSTRY AVERAGE WHOLESALE        ) MDL No. 1456
  PRICE LITIGATION                  ) Civil Action No.
                                    )    01-12257-PBS
                                    )
  THIS DOCUMENT RELATES TO:         )
                                    )
  United States of America,         ) Hon. Patti Saris
  ex rel. Ven-a-Care of the         )
  Florida Keys, Inc., v.            )
  Abbott Laboratories, Inc.,        )
  and Hospira, Inc.                 )
  CIVIL ACTION NO. 06-11337-PBS     )


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               UNITED STATES DISTRICT COURT
                 DISTRICT OF MASSACHUSETTS


  IN RE: PHARMACEUTICAL            )
  INDUSTRY AVERAGE WHOLESALE       ) MDL No. 1456
  PRICE LITIGATION                 ) Civil Action No.
                                   )    01-CV-12257-PBS
                                   )
  THIS DOCUMENT RELATES TO:        )
                                   ) Judge Patti B. Saris
  State of Arizona v. Abbott       )
  Labs., et al.                    )
  Civil Action No. 06-CV-11069-PBS )


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             ORAL AND VIDEOTAPED DEPOSITION OF
                      BRUCE E. RODMAN
                      August 29, 2007

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                                                Page 18                                                      Page 20
 1   service that has to do -- that requires clinical        1   but generally I can tell you my recollections, which
 2   pharmacists, who are quite involved with advising the   2   were that he was wanting to see if it's possible to
 3   physicians who are ordering the medications, in         3   get, either from the association or a provider, you
 4   monitoring and interpreting and advising physicians on 4    know, or whatever individuals that might be willing to
 5   lab results, through sometimes others in the            5   make some sort of statement to attest to the type of
 6   organization or others outside, such as nurses or       6   information that I just said, which is that the margin
 7   people within the pharmacy that are following up with   7   that would be made for -- by the provider from a drug
 8   patients and listening if there are particular          8   was one of the necessary aspects of being able to stay
 9   problems or issues that the patients are bringing up.   9   in business.
10              The pharmacy -- pharmacists do a lot of     10      Q. Did he -- strike that.
11   quality control checking. The drug themselves are      11             When you say "margin," how is the margin
12   quite often compounded in a sterile clean room. And    12   achieved?
13   the -- the -- actually, the -- the -- the billing that 13      A. Well, I guess I would define the margin in
14   is the reimbursement process for home infusion therapy 14   this case as gross margin being the difference between
15   is -- is very complicated and difficult. And in order  15   what the drug when it's billed is reimbursed for as
16   to provide the home infusion therapy service to a      16   compared to what it cost the provider.
17   patient, it requires quite a few people on it.         17      Q. And are you aware of drugs being billed at
18              And it also requires administration,        18   AWP rates?
19   supplies, tubing, that sort of thing, needles and      19      A. The predominant methodology -- well, the
20   equipment such as infusion pumps. And those are not 20      predominant methodology in -- in this -- in this
21   free in terms of -- you know, obviously there's a high 21   business of the aspect of the billing for billing of
22   cost. If you were to tour a home infusion pharmacy     22   the drugs has been based on an average wholesale price
23   facility, it will depend clearly on the size of the    23   figure.
24   patients, you know, their census, if you will. But if  24      Q. And when you say "average wholesale price"
25   you were to tour, you walk, you are going to see a ton 25   and I say "AWP," are we talking about --
                                                Page 19                                                      Page 21
 1   of people there and it's going to be a very different   1       A. Yes, we are.
 2   experience from looking -- from walking into any        2       Q. -- the same thing?
 3   retail community pharmacy.                              3       A. Yes.
 4            And so in order to provide the service,        4       Q. Okay. One other thing I don't think I said
 5   there has to be reimbursement for them that is          5   is -- is when I -- I'm going to try when you're giving
 6   adequate for them to provide the service and stay in    6   an answer not to talk over you.
 7   business. And part of that service is -- part of --     7       A. Okay.
 8   part of providing that is a margin that would be        8       Q. If you could do the same for me just because
 9   achieved, i.e., a profit, gross profit, if you will,    9   it's very difficult for our court reporter to take
10   the difference between what they may have paid for a 10     down two people talking at the same time. Okay?
11   drug as compared to what they were reimbursed for the 11        A. I will try.
12   drug.                                                  12       Q. Okay.
13            And it is -- there are -- there are           13             MR. STETLER: You anticipated her
14   other ways, you know, other billing aspects of home    14   question, you got it right, but it may not always be
15   infusion therapy, also, in addition to billing for the 15   the case. So let her -- just let her finish, that's
16   drug, but they all add up to provide a necessary       16   all. You may sneak a nod in there at the end.
17   return for them to provide the service. So that's      17       Q. (BY MS. ST. PETER-GRIFFITH) Okay. So you
18   what I meant.                                          18   understood that the predominant methodology for
19      Q. Okay. And why did Mr. Sellers -- strike          19   reimbursement is based upon average wholesale price or
20   that.                                                  20   AWP.
21            What did you mean when you said that          21       A. Well, I understand that extremely well now.
22   Mr. Sellers asked for an organization or entity that   22       Q. Okay. What do you mean by that?
23   would be helpful?                                      23       A. Well, one of the things I want you to
24      A. You know, I can't tell you word for word our     24   understand is that in my experience at Abbott Home
25   conversation because I don't have that type of memory, 25   Infusion, I started with that business unit in

                                                                                        6 (Pages 18 to 21)
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                                                 Page 22                                                       Page 24
 1   January of 1993 and spent approximately five years as     1   aspects.
 2   being a reimbursement supervisor and I was learning       2             One is that specifically with relating
 3   the business. And this is a -- this is not an easy        3   to drug pricing in the industry and the importance of
 4   business to learn. And after approximately 1998 I was     4   that and, perhaps, the evolving mystery of it and an
 5   doing other things that were not directly related to      5   understanding of just what AWP is at this point is far
 6   the reimbursement.                                        6   more than I understood in those five years that I was
 7            But in any event, when I left Abbott and         7   responsible for a portion of the reimbursement in
 8   began consulting and ultimately took a position for       8   Abbott.
 9   the National Home Infusion Association, you know, I       9             The second is I have, I think, a
10   learn every day. And, you know, my knowledge in          10   better -- a much better appreciation of the importance
11   general about these aspects of reimbursement and other   11   of all of the aspects of how providers bill, i.e., the
12   aspects of the home infusion therapy business on the     12   importance of, you know, how they do claims, what they
13   provider side, at least, is far more than what I knew    13   bill for and how that all adds up necessary for them
14   in those five years as reimbursement supervisor at       14   to have -- have appropriate margins so that they can
15   Abbott.                                                  15   stay in business.
16            So, I'm sorry, what was your question?          16             You know, can I give you specifics?
17      Q. No. Well --                                        17   Maybe if you ask some real questions that are
18      A. I related to it.                                   18   specific, I might be able to answer something. But in
19      Q. -- now I have another question for you.            19   general --
20      A. Okay.                                              20      Q. Okay.
21      Q. How is it that -- that your knowledge now,         21      A. -- I just know a lot more now than I did
22   based upon the position that you're in now regarding     22   then.
23   reimbursement, has either grown or changed from what     23      Q. Okay. What is your understanding of what AWP
24   it was when you were reimbursement supervisor at         24   is?
25   Abbott?                                                  25      A. Now?
                                                 Page 23                                                       Page 25
 1             MS. FUMERTON: Objection, form.                1        Q. Yes.
 2      Q. (BY MS. ST. PETER-GRIFFITH) Oh, I also --         2        A. It is a benchmark that is published by now
 3             MR. STETLER: Ignore that.                     3     three drug compendiums that is identified with drugs
 4      Q. (BY MS. ST. PETER-GRIFFITH) Forgot to tell        4     by NDC numbers, drug by drug by drug. That it is
 5   you that she --                                         5     something that is -- been a mystery as to how those
 6             MR. STETLER: She'll object.                   6     compendiums actually develop AWP, that there's been
 7      Q. (BY MS. ST. PETER-GRIFFITH) That every once 7           media controversy about it and lawsuits about it, but
 8   in a while Ms. Fumerton might have an objection.        8     it still is the predominant method throughout most
 9   Unless Mr. Stetler instructs you not to answer, if you  9     payers for home infusion providers through which the
10   could respond to my question that I asked.             10     billings that they submit on claims for drugs are paid
11      A. So what did we just say? I am or am not --       11     with and these days there's typically a steep discount
12             MR. STETLER: She'll object and unless I      12     for most payers off of that published AWP price.
13   say something, which would be rare, indeed, you just   13        Q. Do you know why there's a steep discount or
14   kind of ignore it and answer the question.             14     do you have an understanding as to why?
15             MS. FUMERTON: My objection --                15        A. I guess what I can tell you is it's my
16             MR. STETLER: It's a legal thing.             16     general impression and -- and that's all that I can
17             MS. FUMERTON: My objection is to her         17     give you, that there is reimbursement for home
18   questions, not to anything that you're saying. So it   18     infusion in general and that includes the drug
19   doesn't really actually involve you, but I just wanted 19     billings specifically has been ratcheted back by
20   to explain that.                                       20     various payers over the last 15 years and that
21      A. Please ask the question again.                   21     includes AWP.
22             MS. ST. PETER-GRIFFITH: Sure. Can you        22        Q. Okay. What was your understanding of AWP
23   read it back, Cindy?                                   23     prior to your having this understanding?
24             (Requested portion was read)                 24                 MS. FUMERTON: Objection, form.
25      A. I think I would like to answer that in two       25        Q. (BY MS. ST. PETER-GRIFFITH) I mean --

                                                                                          7 (Pages 22 to 25)
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 1   strike. Actually, let me ask this: Your                 1   someone from the association was going to say
 2   understanding of AWP that you just described, when did 2    something, it was the executive director, but that
 3   you come to have that understanding of what AWP was? 3      wouldn't be appropriate because the new executive
 4       A. Oh, that would be difficult to say, I guess.     4   director was just starting to learn the business. So
 5   I -- somewhere in the period of which -- and I think    5   I -- at least in my own mind I briefly thought, well,
 6   it's the period that I was probably still a             6   maybe I could say something.
 7   reimbursement manager, but it could have been later.    7              And I don't recall whether Mike Sellers
 8   I was reimbursement supervisor, but it could have been  8   brought it up first or whether I said something, but
 9   later. I came to an understanding that AWP was not      9   in any event, he said, "Well, that probably wouldn't
10   what I had thought it was, was what Bruce Rodman       10   be appropriate" given that I had worked with Abbott
11   thought it was from the name.                          11   and I agreed with that, so I concurred.
12       Q. Okay. And what did you think AWP was?           12              So I did provide the names of two
13       A. I thought --                                    13   individuals to Mike Sellers that he might follow up in
14             MS. FUMERTON: Objection, form.               14   contact with.
15       A. -- from the name, not because anybody told      15      Q. Okay. And do you know whether he did?
16   me, I just thought from the name that it was an        16      A. Yes. I talked to one of them and I know that
17   average based on statistical sampling or reporting or  17   he did with one of them. And I do not know about the
18   something like that, but an average of what a          18   other.
19   provider, in fact, would be paying to acquire a drug   19      Q. Okay. What was your conversation with the
20   from their source. Specifically from their             20   individual that you spoke with that Mr. Sellers
21   wholesaler.                                            21   contacted?
22       Q. (BY MS. ST. PETER-GRIFFITH) Okay. And           22      A. That -- well, then I get the phone call from
23   what -- when did you have that understanding?          23   Ms. Citera and that occurred after. So I did have a
24       A. Well, certainly I would say through much of     24   conversation with this one individual at one point and
25   those five years or so that I was the reimbursement    25   just said, you know, just -- just be careful that --
                                                Page 27                                                      Page 29
 1   supervisor.                                             1   don't run into more grief then you really want to. In
 2      Q. When you were the reimbursement supervisor        2   effect, that's what I said. I don't recall the exact
 3   within the -- and we'll get into your employment        3   words.
 4   history for a second, but --                            4      Q. Who were you speaking to?
 5      A. Uh-huh.                                           5      A. His name is Larry Robinson.
 6      Q. -- when you were a reimbursement supervisor,      6      Q. Okay. And what is -- who is Mr. Robinson
 7   did you receive any training as to what AWP was or      7   affiliated with?
 8   what Abbott's understanding of AWP was?                 8      A. Well, he was affiliated at the time with the
 9      A. Not that I can recall.                            9   home infusion business and I think some other home
10      Q. Okay. I would like to circle back and round      10   businesses, also, for the Methodist Hospital in
11   out my questions concerning Mister -- your             11   Memphis, Tennessee. Their business name is Methodist
12   conversation with Mr. Sellers. Do you remember         12   Alliance.
13   anything else concerning your conversation with        13      Q. And why did you make that comment to him?
14   Mr. Sellers?                                           14      A. Because I just try to operate prudently as
15      A. Not at that conversation. I did do some          15   general practice and I got this request to do the
16   follow up.                                             16   deposition, which I -- was a surprise to me, frankly,
17      Q. Okay. And what did you do for follow up?         17   and that it would take up some time. And I just
18      A. Well, you know, I do remember one more           18   said -- you know, I just wanted to be -- you know,
19   thing --                                               19   Larry -- I consider Larry a friend. I just wanted to
20      Q. Sure.                                            20   let him know that he -- he'd want to just be careful
21      A. -- actually, which was that, you know, I was     21   in that sense because it may take him some time that
22   briefly thinking, well -- our -- our association's     22   he doesn't want to be involved with. It was that
23   executive director actually had just been in the       23   simple.
24   process of resigning and a new one was starting and,   24             You know, and, frankly, if -- if the
25   you know, my first thought was, well, possibly if      25   situation had been reversed and I had the phone call

                                                                                        8 (Pages 26 to 29)
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